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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ALLIANCE FOR RETIRED
AMERICANS, et al.,

                         Plaintiffs,
                                                        Case No. 1:25-cv-00313-CKK
               v.

SCOTT BESSENT, et al.,

                         Defendants.



            DEFENDANTS’ RESPONSE TO PLAINTIFFS’ OBJECTIONS TO
             THE DESIGNATION OF THE ADMINISTRATIVE RECORD

       Defendants file this response to Plaintiffs’ objections to the designation of the

administrative record pursuant to this Court’s March 11, 2025 Minute Order. Defendants disagree

with Plaintiffs’ contention that the record is incomplete. The certified administrative record, filed

with the Court on March 10, contains all non-privileged documents and materials directly or

indirectly considered regarding the granting of access to systems maintained by the Bureau of the

Fiscal Service (BFS) to employees implementing Executive Order 14,158. See Certification of

Administrative Record, ECF No. 44-1 at 2.

       Defendants believe that supplementation of the record is not required. However, to

conserve the parties’ and the Court’s resources and to narrow the scope of the parties’

disagreements, Defendants agree to provide certain additional information as described below by

March 14, 2025, which is the deadline Plaintiffs proposed. Defendants respond to Plaintiffs’

objections as follows:
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       Tabs 1.B1 and 1.B2 (ECF pages 12-20). Plaintiffs point out that the records associated

with engaging Mr. Thomas Krause as a consultant do not identify the office or officer making the

request. See Pls.’ Obj. at 2. Defendants agree to file additional documentation regarding Mr.

Krause’s engagement, or to provide the requested information in a declaration, by March 14.

       Tab 3.2 (ECF pages 63-65). Plaintiffs state that the “Fiscal Service Payment Processing

Engagement Plan” references “safeguarding and handling instructions of Fiscal Service data for

the duration of this engagement,” and Plaintiffs believe those instructions should be part of the

administrative record. Pls.’ Obj. at 2. Defendants refer Plaintiffs and the Court to the Rules of

Behavior included in the administrative record at 25-cv-00313_DDC_UST_0031-32, as well as

the description of trainings and safeguards in Mr. Joseph Gioeli III’s February 12, 2025

declaration, ECF No. 24-2.

       Tab 3.3 (ECF page 66). Plaintiffs state that the “Preliminary Work Plan” document, while

written in the first person, does not identify an author or recipient. The substance of the document

was authored by Thomas Krause, with input from Daniel Katz, and it was distributed to members

of the senior Treasury leadership team, which Defendants will confirm in a declaration by March

14.

       Tabs 4.1 and 4.2 (ECF pages 67-68). Although Defendants have already provided a

spreadsheet specifying access to Bureau of the Fiscal Service’s systems, Plaintiffs contend that

Defendants should supplement the record with “agency documentation reflecting the access

granted to the DOGE Team,” as well as “requests for approval and forms to obtain access” to

specified databases. These materials are not part of the administrative record because they did not

inform the decision to grant access but rather reflect various IT steps taken to grant access. To




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avoid further dispute, however, Defendants agree to produce materials in response to this request

by March 14.

       Tab 5.1 (ECF pages 69-70). Plaintiffs ask that redactions be lifted from an email sent by

Daniel Katz on January 26, 2025 at 6:34 PM, produced at 25-cv-00313_DDC_UST_0063.

Defendants agree to produce by March 14 a version of the that email without the redaction to

which Plaintiffs object.

       Plaintiffs also seek documentation of a “request” referenced in the last-in-time email at 25-

cv-00313_DDC_UST_0053. The “request,” however, is already reflected in the email itself—i.e.,

to establish a process to review USAID payment information. Moreover, any request on that topic

is outside the scope of the challenged access decision.

       Tab 5.2 (ECF pages 72-74). Plaintiffs ask that redactions be lifted from emails produced

at 25-cv-00313_DDC_UST_0066-68. Defendants applied the redactions in the bodies of those

emails to protect information covered by the deliberative process privilege.         The redacted

information is predecisional, because it predated the decision to proceed with the process for

reviewing USAID payments, and it is deliberative, because it consists of an internal back and forth

informing whether or not to proceed with the proposals under discussion.

       Plaintiffs also seek to know the recipient email address for “Marko Elez” in the TO: line

in the email produced at the 25-cv-00313_DDC_UST_0066. Mr. Elez sent the email from his

“@treasury.gov” email address to his “@fiscal.treasury.gov” email address, which Defendants

will confirm in a declaration by March 14.

       Plaintiffs’ “Other items.”

       1. Plaintiffs argue that the administrative record should contain the “risk assessment” of

a subcontractor referenced in the news article Plaintiffs cite. Pls.’ Objs. at 4-5. That document



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was not considered by Treasury as part of the decision to grant access to BFS systems and therefore

is properly not part of the administrative record, which Defendants will confirm in a declaration

by March 14.

         2. Plaintiffs also argue that the administrative record is deficient because it does not

include materials on “(a) how to implement the DOGE executive order . . . (b) the directions and

priorities that Defendants receive from USDS, (c) the progress updates that they provide to USDS,

[and] (d) other records reflecting coordination with USDS and the actions and decisions that have

resulted from that coordination.” The Court should not require Defendants to provide any such

materials, because they are outside the scope of the administrative record regarding the challenged

action in this case.

         Plaintiffs challenge “[t]he decision to grant access to DOGE.” Pls.’ Reply in Support of

Pls.’ Mot. for Prelim. Inj. 14, ECF No. 28. Defendants dispute that Treasury’s decision to allow

Treasury DOGE Team members access to BFS systems is a final agency action subject to APA

review. See Defs.’ Opp’n to Pls.’ Mot. for Prelim. Inj 13-15, ECF No. 24. However, Treasury

included in the administrative record filed with the Court all non-privileged materials that Treasury

directly or indirectly considered in connection with the challenged decision. See Certification of

AR, ECF No. 44-1 at 2.

         The “other items” Plaintiffs seek to obtain go far beyond the challenged access decision

and are unmoored from their claim that providing access to the Treasury DOGE Team violates the

Privacy Act or the Internal Revenue Code. Rather, Plaintiffs seek ongoing, post-decisional

information about Treasury’s coordination with USDS, without limitation to topic. The Court

should not permit Plaintiffs to turn the “administrative record” into a vehicle for discovery by other

means.



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       Plaintiffs’ “Request for prompt action.” The administrative record is complete, though

Defendants have agreed to provide a subset of the additional information Plaintiffs requested by

March 14. To the extent the Court were to conclude that the administrative record must be

supplemented with additional material—beyond what Defendants agree above to produce—

Defendants respectfully submit that it would be impractical to do so by the March 14 deadline that

Plaintiffs propose.



Dated: March 12, 2025                        Respectfully submitted,

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